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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

 JEFF TITUS,
         Petitioner,


 v.                                          CASE NO. 2:18-cv-11315


 NOAH NAGY,
         Respondent.




   ORDER GRANTING UNCONDITIONAL WRIT ORDERING A
      NEW TRIAL AND TITUS’ IMMEDIATE RELEASE
     Based on the stipulation of the parties to this matter, and the
Court being fully advised in the premises, the Court hereby:


      1) Grants Petitioner Titus’ motion to supplement the habeas
         petition pending before this Court to add an additional Brady
         claim;

      2) Grants Petitioner Titus an unconditional writ of habeas corpus;

      3) Orders that Petitioner Titus’ convictions and sentences in
         Kalamazoo County Circuit Court No. D02-000166-FC are to be
         vacated immediately and a new trial granted; and
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   4) Orders that Petitioner Titus be released from Michigan
      Department of Corrections (MDOC) custody forthwith.




                                         s/Paul D. Borman
                                         PAUL D. BORMAN
                                         UNITED STATES DISTRICT
                                         JUDGE
DATED: February 24, 2023
